           Case 1:10-cr-00417-AWI Document 378 Filed 07/18/14 Page 1 of 2


 1   W. SCOTT QUINLAN, 101269
          2333 Merced Street
 2        Fresno, Ca 93721
 3        Telephone: (559) 442-0634
          Facsimile: (559) 233-6947
 4

 5            Attorney for Defendant MICHAEL MANFREDI

 6

 7

 8                                    UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                     No. CR-F-10-0417 AWI

12                       Plaintiff,              ORDER TERMINATING ATTORNEY FEE
                                                 REIMBURSEMENT PAYMENTS AS TO
13            v.                                 MICHAEL MANFREDI

14   MICHAEL MANFREDI,

15                       Defendant.

16

17

18            By order of this Court, W. Scott Quinlan was appointed effective February 22, 2011 to

19   represent Defendant Michael Manfredi pursuant to 18 U.S.C. § 3006A based on a finding that

20   Defendant Manfredi was financially unable to retain counsel. Pursuant to § 3006A(f), the Court

21   found that Defendant Michael Manfredi had funds available to make some payment.

22   Accordingly, he was ordered to make payments to the Clerk of the Court for deposit in the

23   Treasury as a reimbursement to the Criminal Justice Act appropriation.

24            That order is now hereby TERMINATED, effective nunc pro tunc to the date of his

25   acquittal of all charges on February 12, 2014. Defendant Michael Manfredi is no longer required

26   to make payments to the Clerk of the Court on this matter.

27   ///

28   ///
                                                      1
       Case 1:10-cr-00417-AWI Document 378 Filed 07/18/14 Page 2 of 2


 1
     IT IS SO ORDERED.
 2

 3   Dated: July 17, 2014
                                       SENIOR DISTRICT JUDGE
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                           2
